    Case 18-10021-SMT   Doc 205    Filed 05/15/20 Entered 05/15/20 08:13:40   Desc Main
                                  Document     Page 1 of 3
The document below is hereby signed.

Signed: May 14, 2020




                                   ___________________________
                                   S. Martin Teel, Jr.
                                   United States Bankruptcy Judge




                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLUMBIA

     In re                                 )
                                           )
     PIERRE PHILIPPE BARKATS,              )     Case No. 14-00053
                                           )     (Chapter 7)
                     Debtor.               )
     ____________________________          )
                                           )
     WENDELL W. WEBSTER, TRUSTEE,          )
                                           )
                        Plaintiff,         )
                                           )
                  v.                       )     Adversary Proceeding No.
                                           )     18-10021
     RONDI WALKER, et al.,                 )
                                           )     Not for publication in
                        Defendants.        )     West’s Bankruptcy Reporter.

                          MEMORANDUM DECISION AND
             ORDER DENYING DIRECT CAPITAL CORPORATION’S MOTION
        FOR LEAVE TO FILE GARNISHMENT AGAINST TRUSTEE IN STATE COURT

          Direct Capital Corporation obtained a judgment against Rondi

     Walker, and had a judgment lien against Dr. Walker’s interest in

     a real property later sold by the Chapter 7 trustee, the

     plaintiff in this adversary proceeding, a proceeding which has
Case 18-10021-SMT   Doc 205    Filed 05/15/20 Entered 05/15/20 08:13:40   Desc Main
                              Document     Page 2 of 3


 been made an interpleader action.          The court has granted Direct

 Capital Corporation leave to intervene in this proceeding.

 Direct Capital’s Motion for Leave to File Garnishment Proceedings

 Against Trustee in State Court is cast as seeking relief in the

 alternative to being allowed to intervene in this adversary

 proceeding.   In any event, Direct Capital is a necessary party to

 this interpleader action and the trustee, as the plaintiff

 pursuing having all claimants to the sale proceeds at issue bound

 by the court’s ruling, needs an adjudication that is binding on

 Direct Capital.

      Recognizing that its lien is the last lien filed in the land

 records against Dr. Walker, Democracy Capital may have seen

 garnishment as a way of seizing any excess proceeds that would be

 left after senior liens are paid and as a way of avoiding the

 expense of participating as an intervenor defendant.               However,

 whatever is Dr. Walker’s share of the proceeds at issue will be

 exhausted by the liens against her interest in the real property

 that was sold.     Nothing will be left that would be reached by a

 writ of garnishment.

      It is thus

      ORDERED that Direct Capital’s Motion for Leave to File

 Garnishment Proceedings Against Trustee in State Court (Dkt. No.

 178) is DENIED.

                                                  [Signed and dated above.]


                                        2
Case 18-10021-SMT                                                                                   Doc 205    Filed 05/15/20 Entered 05/15/20 08:13:40   Desc Main
                                                                                                              Document     Page 3 of 3


 Copies to: All counsel of record; Office of United States
 Trustee.




 R:\Common\TeelSM\Judge Temp Docs\Webster v. Walker - Order Denying Mtn to Permit Garnishment.wpd
                                                                                                                        3
